         Case 19-11570-ref                      Doc 6        Filed 03/14/19 Entered 03/14/19 18:57:30                             Desc Main
                                                              Document     Page 1 of 2




                                                                                                                             I Ch ckifthisisan
                                                                                                                                     nded filing




Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7
If you are an individual filing under chapter 7, you must fill oLit this form if:
I creditors have claims secured by your property, or                     '
I you riave leased personal property and the lease has not expired.
You must file this form with the court witllin 30 days after you file yoLir bankrLiptcy petitior] or by the date set for the in      of creditors,
        whichever is earlier, unless tlle court extends tlie time for cause. You must also send copies to the creclitors             ssors you I list on
             the form

If two married people are filing together in a Joint case, both are equally responsible for supplying correct information.
         and daife the formf

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
        write yoilr name and case number (if known),

             List Your Creditors Who Have Secured claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have claims Secured by Property (Official Form 1!06D), fill in|the




          List Your Unex ired Personal Pro
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Offic
the jntormation I]elow. Do not ]jst real estate leases. Unexpired leases are leases that are still in effect; the lease period has        tendFd'-'Ydu
may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).




 Lessor's name:                   Lutheran Brothen conference center




 Description ofleased           Residential Lease
 Property:




Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7

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        Case 19-11570-ref                     Doc 6         Filed 03/14/19 Entered 03/14/19 18:57:30                          Desc Main
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8:§!::2      Daly, Steven Mark & Daly, Siv Merete                                                 Case number(;.fknown)   19-11570


                n Below

Under penalty of perjilry, I declare that I have indicated my intention about any property of my estate that secures a debt anq any pers?nal
property th I is subject to an unexpired lease.


      Steven lvlark Daly
      Signature of Debtor 1                                                          Signature of Debtor 2


      Date          March 14, 2019                                               Date       Marchl4,2019




Offlctal Form 108                                    Statement of Intention for Individuals Filing Under Chapter 7

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